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UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA

KNOTTY GIRL FISHING LLC * CIVIL ACTION NO. 2:11-CV-00649

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VERSUS * JUDGE CARL BARBIER
WORLEY CATASTRPHE SERVICES * MAGISTRATE JUDGE SALLY
LLC, ET AL AND BP EXPORATION * SHUSHAN
& PRODUCTION INC. *
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ORDER

Considering the above and foregoing Motion to Withdraw and Enroll Counsel of Record:

IT IS ORDERED, ADJUDGED AND DECREED, that Mary Erlingson and the law
firm of Crawford Lewis be withdrawn as counsel of record and in the above-captioned matter;
and

IT IS FURTHER ORDERED, ADJUDGED AND DECREED, that Elizabeth Haecker
Ryan and Coats | Rose law firm be enrolled as counsel of record for Worley Catastrophe
Services, LLC.

New Orleans, Louisiana, this day of , 2012.

U.S. DISTRICT COURT JUDGE

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